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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                  Plaintiff,
                                            Case No. 15-20283-02
vs.                                         HON. GEORGE CARAM STEEH

D-2 JENNIFER FRANKLIN,

              Defendant.
_____________________________/

           ORDER GRANTING DEFENDANT’S MOTION TO
       EXTEND PRETRIAL MOTION CUT OFF DATES (DOC. 168)
      This matter is presently before the Court on defendant Jennifer

Franklin’s motion to extend the pretrial motion cut-off date. (Doc. 168).

Franklin’s counsel sought concurrence with the Government, but the

parties could not reach an agreement. Franklin asks the Court to grant a

continuation of the motion cut off deadline until all discovery is reviewed.

Franklin seeks such relief based on information provided by the

Government on February 15, 2017, that discovery was not yet complete.

      The Government responds that the discovery most recently

produced, that captured by the Michigan Automated Prescription System

(MAPS), has been in Franklin’s possession since March 28, 2016. The

Government also asserts that the remaining pending discovery pertaining

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to the wiretaps of defendant Boris Zigmond’s and Rodney Knight’s phones

does not relate to Franklin. Therefore, the Government reasons that

Franklin does not need a lengthy extension like that stipulated to with

Zigmond, Tara Marcia Jackson, Sashanti Morris, Anna Fradlis, Maryna

Pitsenko, Svetlana Sribna, and Marina Jacobs on February 14, 2017

concerning “Zigmond’s anticipated motion to suppress wiretaps.” (Doc.

148 at PageID 643).

      The Court agrees with the Government. Therefore, the Court will

GRANT Franklin’s motion, but only for a limited time period.

      IT IS HEREBY ORDERED that Franklin’s motion cut-off date is

extended to March 15, 2017.

Dated: March 1, 2017


                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE


                               CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                     March 1, 2017, by electronic and/or ordinary mail.

                                   s/Marcia Beauchemin
                                       Deputy Clerk




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